             Case MDL No. 2949 Document 71 Filed 06/18/20 Page 1 of 8



               BEFORE THE UNITED STATES JUDICIAL PANEL ON
                        MULTIDISTRICT LITIGATION



 IN RE: PROFEMUR HIP IMPLANT                        MDL NO. 2949

 PRODUCT LIABILITY LITIGATION




 INTERESTED PARTY RESPONSE OF PLAINTIFF ROBERT BODILY IN SUPPORT
     OF TRANSFER AND CONSOLIDATION PURSUANT TO 28 U.S.C. § 1407

  I.   INTRODUCTION

       On October 22, 2018 Plaintiff ROBERT BODILY filed a Complaint in the United States

District Court, Central District of California, titled Robert Bodily. v. Wright Medical Technology,

Inc., et al. Case No. 5:18-cv-02244, alleging that as a direct and proximate result of Plaintiff

Bodily’s use of the PROFEMUR® Hip Implant System, as manufactured, designed, sold, supplied,

marketed and introduced into the stream of commerce by Defendants, Plaintiff suffered serious

physical injury, harm, damages and economic loss and will continue to suffer same in the future,

as well as damages for loss of consortium.

       On or about March 18, 2020, Plaintiffs Johnny C. Simpson and Elizabeth Simpson filed a

Motion for Transfer of Actions pursuant to 28 U.S.C. § 1407 to the Eastern District of Arkansas.

On or about March 18, 2020 Plaintiffs Steven M. Chadderdon and Carolyn Chadderdon also filed

a Motion for Transfer of Actions pursuant to 28 U.S.C. § 1407 to the Eastern District of Arkansas.

In accordance with 28 U.S.C. § 1407 and the Rules of Procedure of the Judicial Panel on

Multidistrict Litigation (“Panel”), Plaintiff submits his Interested Party Response in support of the

transfer and centralization of all federal actions against Wright Medical Technology, Inc., Wright
               Case MDL No. 2949 Document 71 Filed 06/18/20 Page 2 of 8



Medical Group, Inc., Wright Medical Group, N.V. (hereinafter “Wright”) and Microport

Orthopedics, Inc. (hereinafter “Microport”) for recovery for damages sustained from the defective

hip implant components marketed as the ProFemur® Total Hip System (collectively the

“PROFEMUR Hip Implant System” or “Products”). These actions include personal injury suits

filed by individuals implanted with the defective modular stem components and as of May 18,

2020, there were at least Forty-Two (42) actions filed in various federal districts throughout the

nation against Wright and/or Microport concerning the alleged defective PROFEMUR Hip

Implant System.

    II.   THE PROFEMUR HIP IMPLANT SYSTEM

          The PROFEMUR Hip Implant System consists of a modular stem, much like the Stryker

Rejuvenate or ABG II or the Zimmer M/L Taper with Kinnectiv Technology, See MDL 2441,

2859. The PROFEMUR is comprised of two parts – the Femoral Stem (the “Stem”) and Modular

Neck (the “Neck”). The Stem and Neck of the PROFEMUR is prone to movement, fretting and

corrosion at the Neck-Stem junction, which leads to premature implant failure.

          As outlined in the brief in support of transfer and above, the PROFEMUR Hip Implant

System is manufactured by Wright Medical Group and MicroPort Orthopedics, Inc. In late 2019,

however, it was announced that Stryker is acquiring Wright Medical Group.1

III.      STANDARD

          Multidistrict litigation is designed “to ‘promote the just and efficient conduct’ of ‘civil

actions involving one or more common questions of fact’ that are pending in different districts.”

In re Phenylpropanolamine (PPA) Products Liability Litigation, 460 F.3d 1217, 1229 (9th Cir.




1
 https://investors.stryker.com/press-releases/news-details/2019/Stryker-announces-definitive-
agreement-to-acquire-Wright-Medical/default.aspx.
                                                   2
            Case MDL No. 2949 Document 71 Filed 06/18/20 Page 3 of 8



2006) quoting 28 U.S.C. § 1470(a)). Upon a motion for transfer, the Panel “analyzes each group

of cases in light of the statutory criteria and the primary purposes of the MDL process to determine

whether transfer is appropriate.” In re PPA Products Liability Litigation, 460 F.3d at 1230.

IV.    CENTRALIZATION IS APPROPRIATE HERE AS THERE ARE COMMON
       QUESTIONS OF FACT

       The related actions share key common questions of fact related to the nature of the defect

in the PROFEMUR Hip Implant System implanted into thousands of patients across the United

States. The PROFEMUR Hip Implant System has caused and will continue to cause personal

injuries requiring explanting and replacing the device with an alternative femoral system.

Additionally, there are key questions of fact regarding Wright and Microport’s ongoing conduct

in concealing and failing to correct the impact of the marketing and sale of these defective

orthopedic devices.

       Interested Party Plaintiff agrees that centralization is warranted and will promote the just

and efficient conduct of the actions and offer convenience to the various witnesses and the parties.

 V.    RELATED ACTIONS PENDING IN FEDERAL COURTS WILL CONTINUE TO
       GROW

       Those who have been injured by a PROFEMUR Hip Implant System have initiated or plan

to initiate lawsuits in state and federal courts throughout the United States. Interested Party

Plaintiff(s) is aware of more than Forty-Two (42) lawsuits that have been filed in federal courts

and many additional cases have been filed in various state courts. The number of lawsuits is

expected to grow within the coming months. Wright began distributing the PROFEMUR Hip

Implant System in 2001. Unlike other manufacturers, Wright did not warn patients or surgeons

that these components have an increased risk of corrosion. Because patients and surgeons were

unaware of the potential for the hip system to corrode, the patients were not regularly monitored



                                                 3
            Case MDL No. 2949 Document 71 Filed 06/18/20 Page 4 of 8



for problems associated with implant fractures and metallosis, including a simple blood test that

would show any increase in levels of cobalt and chromium in the blood – a sign of metallosis.

Therefore, many of the patients have recently become aware that the premature failure and revision

of their hip implant was due to a defect in the Products.

       The anticipated numerical scope of these cases, as well as the extensive common factual

issues shared by these cases, is why Plaintiff seeks consolidation and coordination in a centralized

MDL.

VI.    INFORMAL COORDINATION EFFORTS HAVE REACHED AN IMPASSE

       Regardless of the number of cases, Plaintiff here are unable to move forward efficiently

with the current attempts at informal coordination efforts. These     efforts   have   reached   an

impasse. Plaintiffs have access to different discovery and different witnesses depending on the

jurisdiction, even where those Plaintiffs share the same counsel.

       In addition, Defendants are undergoing a change in ownership during the discovery process

which may result in a complete overhaul of coordination efforts. Both Plaintiffs and Defendants

will be able to coordinate more efficiently when discovery proceedings are streamlined into one

centralized process.

VII.   COORDINATION IN STATE COURT HAS ALREADY DEMONSTRATED
       EFFECTIVENESS

       Wright and Microport opposed coordinating Profemur cases pursuant to Shelby County

Circuit Court Local Rule 28 in Tennessee. The Shelby County Circuit Court coordinated cases

over Wright’s and Microport’s objections. By coordinating Profemur cases in Shelby County, the

parties there were able to avoid unnecessary cost and resources for both Plaintiffs and Defendants.

       Should the JMPL centralize Profemur hip implant cases, Defendants will enjoy many of

the same benefits of judicial efficiency they currently enjoy in Shelby County, Tennessee. For

                                                 4
                 Case MDL No. 2949 Document 71 Filed 06/18/20 Page 5 of 8



 example, they will only need to produce documents once, not several times across different

 jurisdictions. Importantly, discovery will also prevent inconsistent rulings on discovery, factual

 issues and general causation. See In Re: AndroGel Prod. Liab. Litig., 24 F. Supp. 3d 1378, 1379

 (JPML 2014) (centralizing all testosterone replacement therapy actions involving numerous

 individual drugs manufactured by different companies because the actions shared factual questions

 regarding general causation and the background science, as well as involved common regulatory

 issues.)

VIII.       THE EASTERN DISTRICT OF ARKANSAS IS THE MOST FITTING VENUE
            FOR THE COORDINATED PROFEMUR HIP IMPLANT PRODUCT LIABILITY
            LITIGATION

            The Judicial Panel on Multidistrict Litigation has used various criteria to determine the

 most appropriate transferee forum under 28 U.S.C. § 1407. Among the factors the Panel has

 considered when selecting a transferee forum is whether the forum: “(1) is not overtaxed with other

 MDL cases, (2) has a related action pending in its docket, (3) has a judge with some degree of

 expertise in handling the issues presented, and (4) is convenient to the parties.” Herr, David,

 Annotated Manual for Complex Litigation, § 22.32 at p. 541 (4th ed. 2007).

            Judge Kristine G. Baker in the Eastern District of Arkansas has the experience and is well-

 suited to handle this litigation. Judge Baker’s experience handling complex litigation and product

 liability cases and her extensive experience in the administration of large numbers of cases make

 her a preferred choice to manage the coordination of these actions.

            The Circuit Court of Shelby County Tennessee has already coordinated several

 PROFEMUR cases pursuant to its Local Rule 28 and is conveniently located only two hours from

 Little Rock, Arkansas. Additionally, Little Rock Arkansas’ close proximity to Memphis and




                                                     5
             Case MDL No. 2949 Document 71 Filed 06/18/20 Page 6 of 8



Arlington, Tennessee, the principal places of business for Wright and Microport, makes the

Eastern District of Arkansas an ideal location for the pretrial coordinated proceedings.

IX.    ALTERNATIVELY, THE CENTRAL DISTRICT OF CALIFORNIA IS AN
       APPROPRIATE FORUM FOR THESE ACTIONS

       Alternatively, the Central District of California is well suited for an MDL. Currently there

is forty two case(s) filed in the Central District of California. The Central District of California is

familiar with the science and damages involved in an orthopedic implant product liability case.

       Although the Eastern District of Arkansas is home to many excellent judges, the Honorable

Christina Snyder is immensely qualified judge and has overseen multiple MDLs.

 X.    CONCLUSION

       Accordingly, Interested Party Plaintiff Roberg Bodily join moving parties Johnny C.

Simpson and Elizabeth Simpson and moving parties Steven M. Chadderdon and Carolyn

Chadderdon’s Motion for Transfer and Centralization and requests that this Panel consider the

Eastern District of Arkansas and the Honorable Kristine G. Baker as an appropriate Transferee

Court, and, alternatively, USDC of the Central District of California.

DATED:         June 18, 2020.

                                               Respectfully submitted,

                                               /s/    Peter L. Kaufman
                                               PETER L. KAUFMAN
                                               PANISH SHEA & BOYLE, LLP.
                                               Attorney(s) for Plaintiff(s)




                                                  6
            Case MDL No. 2949 Document 71 Filed 06/18/20 Page 7 of 8



                                     PROOF OF SERVICE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

       At the time of service, I was over 18 years of age and not a party to this action. I am
employed in the County of Los Angeles, State of California. My business address is 11111
Santa Monica Boulevard, Suite 700, Los Angeles, CA 90025.

        On June 18, 2020, I served true copies of the following document(s) described as on the
interested parties in this action as follows:

        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
who are registered CM/ECF users will be served by the CM/ECF system. Participants in the
case who are not registered CM/ECF users will be served by mail or by other means permitted
by the court rules.

       I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

       Executed on June 18, 2020, at Los Angeles, California.



                                                        /s/ Sergio Aranda
                                                 Sergio Aranda
Case MDL No. 2949 Document 71 Filed 06/18/20 Page 8 of 8



                     SERVICE LIST
